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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

                               *
BARRETTE OUTDOOR LIVING, INC., *
                               *
             Plaintiff,        *
v.                             *                         Civil Case No. 19-cv-03027-SAG
                               *
IRON WORLD MANUFACTURING, LLC, *
                               *
             Defendant.        *
                               *
*    *   *    *       * *   *                    *       *      *       *      *        *

                                           ORDER
      For the reasons stated in the accompanying Memorandum Opinion, it is, this 11th day of

May, 2020, hereby ORDERED that:

      (1)    Plaintiff’s Motion for Default Judgment, ECF 13, is DENIED;

      (2)    Defendant’s Motion to Set Aside Default, ECF 16, is GRANTED. Defendant is

             DIRECTED to file an Answer to Plaintiff’s Complaint within thirty (30) days of

             the date of this Order; and

      (3)    Plaintiff is PERMITTED to file a motion seeking an award of the reasonable

             costs, expenses, and attorney’s fees incurred in seeking an Order of Default, and

             in filing its Motion for Default Judgment, on or before June 1, 2020. Defendant

             may file an opposition to the requested amount on or before June 15, 2020.



Dated: May 11, 2020                                                      /s/
                                                         Stephanie A. Gallagher
                                                         United States District Judge
